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  MAHMOOD KHAWJA            NIZAM,               *
                                                                                 DEC _   {   20t5
                         Plaintiff,                                             U.S. COURT OF
                    v.                                                         FEDERAL CI-AIMS
                                                 *
                                                             No. 1442C
  UNITED STATES,                                             Filed: December 4,2015

                         Defendant.
  ***t***********


                                           ORDER
         The court is in receipt of parties' December 3, 2015 joint stipulation of dismissal with
prejudice, Pursuant to Rule 41(aX1)(A)(ii) of the Rules of the United States Court of Federal
Claims (2015), this court ORDERS that this case be DISMISSED with prejudice, with each
party to bear its own costs and fees. The Clerk of the Court shall enter JUDGMENT consistent
with this Order. lT lS SO ORDERED.



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                                                        .MARIAN BLANK HORN
                                                                Judge
